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                                                UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA
PARAMOUNT PICTURES CORP., ET AL.                                           CASE NUMBER


                                                                                         CV 19-1156 CAS(PJWx)
                                         PLAINTIFF(S)/PETITIONER(S)
                                    v.
OMNIVERSE ONE WORLD TELEVISION, INC.,                                           ORDER TO REASSIGN CASE DUE TO
ET AL.                                                                            SELF-RECUSAL PURSUANT TO
                                    DEFENDANT(S)/RESPONDENTS(S)
                                                                                     GENERAL ORDER 14-03


        The undersigned Judge, to whom the above-entitled case was assigned, is hereby of the opinion that he
or she should not preside over said case, by reason of (please use additional sheets if necessary) :
The undersigned judge holds a financial interest in an interested party.




       IT IS HEREBY ORDERED that this case be reassigned by the Clerk in accordance with General
Order 14-03.
          This self-recusal has been Ordered:
                ✔ within 120 days of the Court being assigned said case.

                    after 120 days of the Court being assigned said case.

          February 26, 2019
          Date                                                               United States District Judge/Magistrate Judge



                                               NOTICE TO COUNSEL FROM CLERK


        This case has been reassigned to Judge            Dolly M. Gee                                     . On all documents
subsequently filed in this case, please substitute the initials         DMG                        after the case number in
place of the initials of the prior Judge so that the case number will read:                   2:19-cv-01156 DMG (PJWx)          .

          This is very important because documents are routed to the assigned Judge by means of the initials.




cc:       Previous Judge           Statistics Clerk


CV-52 (06/14)                     ORDER TO REASSIGN CASE DUE TO SELF-RECUSAL PURSUANT TO GENERAL ORDER 14-03
